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                                      EXHIBIT C

                    Notice of Expert’s Request for Party Submissions
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                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF LOUISIANA


     In re:                                                             Case No. 20-10846

     THE ROMAN CATHOLIC CHURCH OF THE                                   Section “A”
     ARCHDIOCESE OF NEW ORLEANS,
                                                                        Chapter 11
                               Debtor.1



                   NOTICE OF EXPERT’S REQUEST FOR PARTY SUBMISSIONS

         To the parties listed on Exhibit A attached hereto in the above-captioned cases
 (each a “Party”):

         Reference is made to the Order Appointing an Expert Witness Under Federal Rule of
 Evidence 706 [Docket No. 3308] (the “Order Appointing Expert”), entered by the Court on August
 21, 2024.2 The Court-appointed expert, Mohsin Y. Meghji (the “Expert”), by and through his
 counsel, requests the following to assist the Expert with his investigation and report
 (the “Investigation”):

              •   Each Party is requested to submit a confidential written submission (each a “Party
                  Submission”) to the Expert via email no later than August 27, 2024 at 5:00 p.m. (CT)
                  to both of the following email addresses: mmeghji@m3-partners.com and
                  adnoexpert.lwteam@lw.com.

              •   Each Party Submission shall be treated as Confidential by the Expert, consistent with
                  the terms of the Protective Order [Docket No. 305]. Party Submissions shall not
                  contain information subject to protection by the attorney-client privilege or work
                  product doctrine.

              •   Each Party Submission shall include a cover page that clearly states (i) the identity of
                  the Party (including contact information for both the Party and the Party’s counsel),
                  and (ii) the identity of any key individuals and/or parties (with their contact
                  information, if available) that the Expert and his counsel should speak with to better
                  understand the issues outlined in the Order Appointing Expert.

              •   A Party is permitted to include with its Party Submission no more than five (5)
                  additional documents related to the Chapter 11 Case (and that may include pleadings


 1
     The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
     business is located at 7887 Walmsley Ave., New Orleans, LA 70125.
 2
     Capitalized terms used herein shall have the meanings ascribed to them in the Order Appointing Expert.
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            or other filings made in the Chapter 11 Case) that the Party believes will be of assistance
            to the Expert as part of his Investigation.

        •   The Party Submission shall be three (3) – five (5) (and no more than five (5)) pages in
            length (exclusive of the cover sheet and additional documents) and address any or all
            of the following points:

               o Key obstacles that the parties have encountered in this case that have slowed or
                 hampered progress, including how/why this case is different than other Diocese
                 chapter 11 cases;

               o Your view of the key terms/features of the contemplated plans, as well as the
                 current drafts of any term sheets or plans;

               o Your preferred plan structure(s) and available alternatives, including key
                 assumptions, metrics and/or obstacles;

               o Your view of the Debtor’s management structure and functioning, as well as
                 the competency of management of the Debtor to represent the interests of the
                 estate;

               o Your view on the financial wherewithal of the Debtor to reorganize and move
                 forward as a going concern, in light of the Debtors’ current tort liability, the
                 availability of insurance proceeds and contributions from non-debtor affiliates,
                 and possible use of non-monetary remedies to curb and attempt to prevent
                 future tort liability;

               o Your perspective on the administrative costs (professional fees and otherwise)
                 in the context of the contours of this case as well as your perspective on ongoing
                 resources required to bring this case to conclusion; and

               o Anything else you would like the Expert to know.



        Dated: August 22, 2024                                         /s/ Mohsin Y. Meghji
                                                                       Mohsin Y. Meghji




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                                                                              Exhibit A

            Party                        Attention                            Email                   Address 1              City       State       Zip

1.   The Roman Catholic      c/o Jones Walker LLP                 pvance@joneswalker.com        201 St. Charles          New Orleans   LA       70170
     Church of the                                                                              Avenue, 51st Floor
                             (Attn: R. Patrick Vance;             efutrell@joneswalker.com
     Archdiocese of New
                             Elizabeth J. Futrell; Mark A.
     Orleans                                                      mmintz@joneswalker.com
                             Mintz; Laura F. Ashley, Lucas H.
                             Shelf)                               lashley@joneswalker.com

2.   Apostolates             c/o Heller, Draper, Patrick, Horn,   ddraper@hellerdraper.com      650 Poydras Street,      New Orleans   LA       70130
     (including Saint        & Manthey LLC                                                      Suit 2500
                                                                  lcollins@hellerdraper.com
     Joseph Abbey and
                             (Attn: Douglas S. Draper;
     Seminary College)
                             William H. Patrick, III; Leslie A.
                             Collins)

3.   Official Committee      c/o Locke Lord LLP                   bknapp@lockelord.com          601 Poydras Street,      New Orleans   LA       70130
     of Unsecured                                                                               Suite 2660
                             (Attn: Bradley C. Knapp, Omer F      rkuebel@lockelord.com
     Creditors
                             Kuebel III)

                             c/o Pachulski Stang Ziehl &          lcantor@pszjlaw.com           10100 Santa Monica       Los Angeles   CA       90067
                             Jones LLP                                                          Boulevard, 13th Floor
                             (Attn: Linda F. Cantor; James I.
                             Stang; Joshua M. Fried)

4.   Official Committee      c/o Stewart Robbins Brown &          dstewart@stewartrobbins.com   301 Main Street, Suite   Baton Rouge   LA       70821
     of Unsecured            Altazan, LLC                                                       1640, P.O. Box 2348
                                                                  wrobbins@stewartrobbins.com
     Commercial
                             (Attn: Paul D. Stewart, Jr.;
     Creditors                                                    bbrown@stewartrobbins.com
                             William S. Robbins; Brandon A.
                             Brown)

                             H. Kent Aguillard                    kent@aguillardlaw.com         141 S. 6th St.           Eunice        LA       70535
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             Party                        Attention                        Email                    Address 1            City       State       Zip

5.   Catholic Mutual           c/o Bienvenu Foster Ryan &      jwaters@bfrob.com              1100 Poydras Street,   New Orleans   LA       70163
     Relief Society            O’Bannon LLC                                                   Suite 2870
                               (Attn: John W. Waters)

6.   United States Fire        c/o Gieger, Laborde &           jbaay@glllaw.com               701 Poydras Street,    New Orleans   LA       70139
     Insurance Company         Laperouse, L.L.C.                                              Suite 4800
     and International
                               (Attn: John E.W. Baay II)
     Insurance Company

                               c/o O’Melveny & Myers LLP       eljones@omm.com                1701 N. Harwood        Dallas        TX       75201
                                                                                              Street, Suite 1700
                               (Attn: Emma L. Jones; Tancred   tschiavoni@omm.com
                               V. Schiavoni)


7.   Certain Abuse             c/o Herman, Herman & Katz       sgisleson@hhklawfirm.com       909 Poydras Street,    New Orleans   LA       70112
     Claimants                                                                                Suite 1860
                               (Attn: Soren E. Gisleson)

                               c/o Richard C. Trahant          trahant@trahantlawoffice.com   2908 Hessmer Avenue    Metairie      LA       70002

                               c/o Shearman Denenea, L.L.C.    jdenenea@midcitylaw.com        3004 David Drive       Metairie      LA       70003
                               (Attn: John H. Denenea, Jr.)

8.   Argent Institutional      c/o Greenberg Traurig, LLP      murphyc@gtlaw.com              One International      Boston        MA       02110
     Trust Company                                                                            Place, Suite 2000
                               (Attn: Colleen A. Murphy;       jarvisa@gtlaw.com
                               Annette Jarvis)

                               c/o Butler Snow LLP             David.Rubin@butlersnow.com     445 North Boulevard,   Baton Rouge   LA       70802
                                                                                              Suite 300
                               (Attn: David S. Rubin)

9.   Hancock Whitney           c/o Carver, Darden, Koretzky,   waguespack@carverdarden.com    1100 Poydras Street,   New Orleans   LA       70163
     Bank                      Tessier, Finn, Blossman &                                      Suit 3100
                                                               scullin@carverdarden.com
                               Areaux L.L.C.
                                                               segrist@carverdarden.com



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            Party                       Attention                          Email                     Address 1              City        State       Zip
                            (Attn: David F. Waguespack;
                            Stephen P. Scullin; Peter J.
                            Segrist)

10. Fidelity & Guaranty     c/o Dentons US LLP                 patrick.maxcy@dentons.com       233 South Wacker         Chicago        IL       60606
    Insurance                                                                                  Drive, Suite 5900
                            (Attn: Patrick C. Maxcy; Deborah   deborah.campbell@dentons.com
    Underwriters, Inc.
                            J. Campbell)

11. Second Harvest Food     c/o Baker Donelson Bearman         jhayden@bakerdonelson.com       201 St. Charles          New Orleans    LA       70170
    Bank of Greater New     Caldwell & Berkowitz PC                                            Avenue, Suite 3600
    Orleans and
                            (Attn: Jan M. Hayden)
    Acadiana

12. First State Insurance   c/o Larzelere Picou Wells          wmaloz@lpwsl.com                3850 N. Causeway         Metairie       LA       70002
    Company and Twin        Simpson Lonero LLC                                                 Boulevard
    City Fire Insurance
                            (Attn: Wilson L. Maloz, III)
    Company

13. Counsel for             c/o Robinson Law Offices LLC       craig@rlolegal.com              700 Camp Street          New Orleans    LA       70130
    Individual Abuse
                            (Attn: Craig Robinson)
    Survivors
                            c/o Ardoin McKowen & Ory           david@amotriallawyers.com       114 Laura Drive, Suite   Thibodaux      LA       70301
                            LLC                                                                D
                            (Attn: David Winston Ardoin)

                            c/o Salim-Beasley LLC              robertsalim@salim-beasley.com   1901 Texas Street        Natchitoches   LA       71457
                            (Attn: Felecia Y. Peavy, Frank
                            Elliot III, Robert Salim)

                            c/o Gainsburgh Benjamin David      gmuenier@gainsben.com           1100 Poydras St.         New Orleans    LA       70163
                            Meunier & Warshauer LLC
                                                               bwolf@gainsben.com
                            (Attn: Gerald Meunier, Brittany
                            Wolf-Freeman)

                            c/o Sherman-Denenea LLC            jdenenea@midcitylaw.com         424 Canal Street         New Orleans    LA       70119


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Party                  Attention                        Email                    Address 1            City       State       Zip
           (Attn: John Denenea Jr.)

           c/o Lamothe Law Firm LLC         felamothe@lamothefirm.com      400 Poydras Street,    New Orleans   LA       70130
                                                                           Suite 1760
           (Attn: Frank E. Lamothe, III)

           c/o Aylstock Witkin Kreis &      sateam@awkolaw.com             17 East Main Street,   Pensacola     FL       32502
           Overholtz PLLC                                                  Suite 200
           (Attn: Reagan Charleston
           Thomas)

           c/o Trahant Law Office           trahant@trahantlawoffice.com   2908 Hessmer Avenue    Metairie      LA       70002
           (Attn: Richard Trahant)

           c/o Delacroix & Delacroix LLC    ScottDelacroixLaw@gmail.com    321 North Vermont      Covington     LA       70433
                                                                           Street, Suite 105
           (Attn: Scott Delacroix)

           c/o Herman Herman & Katz LLC     sgisleson@hhklawfirm.com       820 O’Keefe Avenue     New Orleans   LA       70113
           (Attn: Soren Gisleson, Joseph    jcain@hhklawfirm.com
           Cain)

           c/o Huber Tomas & Marcelle LP    Stephen@HuberThomasLaw.com     1100 Poydras Street,   New Orleans   LA       70163
                                                                           Suite 2200
           (Attn: Stephen Huber, Logan      Logan@HuberThomasLaw.com
           Schonekas)

           c/o Sher Garner Cahill Richter   tmadigan@shergarner.com        909 Poydras Street,    New Orleans   LA       70112
           Klein & Hilbert LLC                                             28th Floor
           (Attn: Thomas Madigan)




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